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                                                                          IN THE UNITED STATES DISTRICT COURT
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                                           6                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                           8   USA,                                               No. C14-00380 CRB
                                           9                 Plaintiff,                           ORDER RE FEDEX’S REQUEST FOR
                                                                                                  DISCLOSURE OF GRAND JURY
                                          10     v.                                               INSTRUCTIONS
For the Northern District of California




                                          11   FEDEX CORPORATION,
    United States District Court




                                          12                 Defendant.
                                                                                        /
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                                          14          FedEx moves for an order requiring the government to disclose instructions given to
                                          15   the grand jury on three points of law. See Motion for Disclosure (dkt. 142). FedEx asserts
                                          16   that the government’s grand jury instructions likely misstated the law given (a) the wording
                                          17   of the indictment here and (b) similar instructions given at around the same time in one of
                                          18   Judge Thelton E. Henderson’s cases. See United States v. Pacific Gas & Electric Co., No.
                                          19   14-cr-175 (TEH) (“PG&E”). FedEx argues that the Court should review the instructions in
                                          20   camera, disclose them, and then allow Fedex to move to dismiss the indictment if FedEx
                                          21   discovers error. The government responds that grand jury instructions fall within Rule 6(e)’s
                                          22   secrecy provisions and that FedEx has not shown the required “particularized need.”
                                          23          In addressing this motion, the Court first analyzes whether grand jury instructions are
                                          24   “ministerial records” available to the general public. The Court concludes that they are not.
                                          25   Grand jury instructions constitute a “matter occurring before the grand jury,” and thus they
                                          26   are protected from public disclosure by Rule 6(e) absent a showing of “particularized need.”
                                          27   The Court previously ordered the government to disclose the disputed instructions for in
                                          28   camera review, see Minute Entry (dkt. 150), and after reviewing the instructions, the Court
                                               GRANTS FedEx’s request for disclosure for the following reasons.
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                                           1   I.      FACTUAL AND PROCEDURAL BACKGROUND
                                           2           A.    Background on the Indictment and FedEx’s Alleged Criminal Conduct
                                           3           This case arises from a grand jury investigation and indictment against FedEx. See
                                           4   Superseding Indictment (“indictment”) (dkt. 28). The indictment alleges that FedEx
                                           5   conspired with two online pharmacy networks—the Chhabra-Smoley Organization and a
                                           6   pharmacy network called Creative Pharmacy or Superior Drugs—to violate the Controlled
                                           7   Substances Act (“CSA”) and the Food Drug and Cosmetic Act (“FDCA”). See Indictment ¶¶
                                           8   22-40, 70-87 (counts one and thirteen); 21 U.S.C. § 846. According to the indictment, FedEx
                                           9   departed from its usual business practices so that it could traffic drugs in violation of the
                                          10   CSA and FDCA. Id. ¶¶ 39, 84. The indictment also includes a special “sentencing
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                                          11   allegation” asserting that, “for purposes of determining the alternative maximum fine
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                                          12   pursuant to Title 18, United States Code, Section 3571(d),” FedEx and its “coconspirators
                                          13   derived gross gains of at least $820,000,000.” See id. ¶ 126.
                                          14           B.    FedEx’s Prior Motion to Dismiss the Indictment
                                          15           In March 2015, FedEx moved to dismiss the indictment, arguing that the CSA and the
                                          16   FDCA each establish defenses for common carriers—like FedEx—that carry prescription
                                          17   pharmaceuticals as part of the usual course of their business. See First Motion to Dismiss; 21
                                          18   U.S.C. § 822(c); 21 U.S.C. § 373(a). FedEx argued that these defenses applied on the face of
                                          19   the indictment. See generally First Motion to Dismiss (dkt. 87). The government responded
                                          20   that the common carrier exemptions in 21 U.S.C. §§ 373 and 822 implicitly assume that
                                          21   common carriers “may possess controlled substances [only] to the extent that such possession
                                          22   is otherwise lawful under the CSA.” See Gov’t Opposition (dkt. 93) at 1, 6, 12. The
                                          23   government also pointed to the indictment’s allegations that FedEx had “established special
                                          24   policies that applied only to Internet pharmacies,” and argued that the allegations in
                                          25   paragraphs 39 and 84, if proven, would establish as a matter of law that FedEx acted outside
                                          26   the usual course of business, rendering FedEx ineligible for the defenses at issue. Id. at 14,
                                          27   17. The Court agreed with the government that “it just doesn’t make sense . . . that
                                          28   somebody can knowingly deliver illicit drugs and be exempted,” and the Court denied


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                                           1   FedEx’s motion to dismiss the indictment. See Oral Order Transcript (dkt. 105).
                                           2          C.      Government’s Grand Jury Disclosures Thus Far
                                           3          The government has produced 20 transcripts to FedEx containing the grand jury
                                           4   testimony of current and former FedEx employees, which this Court unsealed for that
                                           5   purpose. See Sealed Transcripts (dkt. 109). The government has also agreed to produce,
                                           6   under the Jencks Act, the grand jury testimony of witnesses who will testify at trial. See
                                           7   Opp’n (dkt. 146) at 4. The government notes that it has agreed to produce that testimony
                                           8   four months before trial—a date earlier than the deadline established by the Jencks Act. Id.
                                           9          D.      FedEx’s Current Request for Disclosure of Grand Jury Instructions
                                          10          FedEx argues that the instructions provided to the grand jury likely misstated three
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                                          11   separate elements of corporate and common carrier law. Consequently, FedEx requests that
    United States District Court




                                          12   the Court order disclosure of “any legal instructions provided by the prosecution to the grand
                                          13   jury related to the following:”
                                          14          •    the defenses established by the “common carrier” exemptions set forth in 21
                                          15               U.S.C. § 373(a) and 21 U.S.C. § 822(c)(2);
                                          16          •    principles of criminal law “collective” mens rea and corporate liability; and
                                          17          •    the Alternative Fines Act, 18 U.S.C. § 3571(d), or the “gross gains” derived by
                                          18               FedEx and its alleged co-conspirators.
                                          19   See Motion for Disclosure at 1. FedEx argues that the instructions given on these points
                                          20   were likely incorrect for two reasons.
                                          21          First, FedEx argues that language in the indictment indicates that the government
                                          22   misunderstands the law on these three points. Given that the indictment contains language
                                          23   about FedEx’s usual course of business, FedEx asserts that the government must have
                                          24   provided some instruction on the CSA’s and FDCA’s common carrier defenses. See Motion
                                          25   for Disclosure. FedEx further asserts that because the charged crimes have mens rea
                                          26   elements, the government must have provided the grand jury with instructions on when a
                                          27   particular mens rea is attributable to a corporation. See id. Finally, FedEx notes that the
                                          28   indictment’s special “sentencing allegation” references the concept of “gross gains,” and thus


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                                           1   FedEx suspects that the government must have also instructed on that point. See id. FedEx
                                           2   argues at length that the government misunderstands these three legal concepts, although
                                           3   even in FedEx’s hypothetical discussion of the content of the grand jury instructions, FedEx
                                           4   fails to identify any controlling authority that the government squarely disregarded. See id.
                                           5          Second, FedEx reasons that the grand jury likely received erroneous instructions by
                                           6   citing to a recent order by Judge Henderson in PG&E. FedEx describes PG&E as “another
                                           7   prosecution of a corporate entity” in which the “grand jury was empaneled during the same
                                           8   period as the one that indicted FedEx, and it returned an indictment less than four months
                                           9   before the initial indictment in this case.” See Motion for Disclosure at 5 (citing PG&E, ECF
                                          10   No. 1 & 127). According to FedEx, “PG&E asked Judge Henderson for an order disclosing
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                                          11   transcripts of grand jury instructions,” and after “reviewing the instructions in camera, Judge
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                                          12   Henderson disclosed to the defense instructions concerning principles of corporate mens rea
                                          13   and collective knowledge that then formed the basis for a motion from PG&E to dismiss the
                                          14   indictment.” See id. (citing PG&E Dkt. 103, 110, 127). FedEx argues that if the government
                                          15   provided inaccurate instructions in PG&E, it likely provided inaccurate instructions here.
                                          16   See id. The government responds that instructions given to a grand jury fall under Rule
                                          17   6(e)’s secrecy provisions and that FedEx has not shown the “particularized need” required
                                          18   for a court to breach grand jury secrecy. See Opp’n at 4.
                                          19   III.   DISCUSSION
                                          20          A.     Legal Framework
                                          21          The Supreme Court has “consistently . . . recognized that the proper functioning of our
                                          22   grand jury system depends upon the secrecy of grand jury proceedings.” Douglas Oil Co. of
                                          23   California v. Petrol Stops Nw., 441 U.S. 211, 218 (1979). Federal Rule of Criminal
                                          24   Procedure 6(e) “codifies the rule that grand jury activities generally be kept secret.” See In
                                          25   re Special Grand Jury (Anchorage, Alaska), 674 F.2d 778, 779 n.1, 781 (9th Cir. 1982)
                                          26   (“Alaska Grand Jury”). Two exceptions to the grand jury secrecy rule are relevant here.
                                          27          First, a defendant can overcome Rule 6(e)’s presumption in favor of protecting the
                                          28   secrecy of any “matter occurring before the grand jury” by showing a “particularized need”


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                                           1   for disclosure. See Fed. R. Crim. P. 6(e); Douglas Oil, 441 U.S. at 228. The Ninth Circuit
                                           2   has indicated that the scope of protected “matters occurring before the grand jury”
                                           3   encompasses “anything which may reveal what occurred before the grand jury,” including
                                           4   “identities of witnesses or jurors, the substance of testimony as well as actual transcripts, the
                                           5   strategy or direction of the investigation, the deliberations or questions of jurors, and the
                                           6   like.” Standley v. Dept. of Justice, 835 F.2d 216, 218 (9th Cir. 1987). Parties seeking
                                           7   disclosure of matters occurring before the grand jury “under Rule 6(e) must show that the
                                           8   material they seek is needed to avoid a possible injustice in another judicial proceeding, that
                                           9   the need for disclosure is greater than the need for continued secrecy, and that their request is
                                          10   structured to cover only material so needed.” Douglas Oil, 441 U.S. at 222.
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                                          11          Second, the Ninth Circuit has recognized that given that the “importance of public
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                                          12   access to judicial records and documents,” a request for “access to the ministerial records” of
                                          13   the grand jury should not be denied “absent specific and substantial reasons for a refusal.”
                                          14   Alaska Grand Jury, 674 F.2d at 781. Stated differently, “the proceedings before the grand
                                          15   jury are secret, but the ground rules by which the grand jury conducts those proceedings are
                                          16   not.” United States v. Alter, 482 F.2d 1016, 1029 n.1 (9th Cir. 1973). The Ninth Circuit has
                                          17   not provided specific guidance on which categories of grand jury records are “ministerial
                                          18   records” or “ground rules,” but it has explained that “[w]e call these records ‘ministerial’ to
                                          19   reflect the fact that they generally relate to the procedural aspects of the empanelling and
                                          20   operation of the Special Grand Jury, as opposed to records which relate to the substance of
                                          21   the Special Grand Jury's investigation.” Alaska Grand Jury, 674 F.2d at 779 n.1.
                                          22          A “split of authority has developed regarding whether the legal instructions provided
                                          23   by the prosecutor to the grand jury are the kind of ‘ground rules’ subject to disclosure, or
                                          24   rather whether they go to the substance of the grand jury’s deliberation and are therefore
                                          25   afforded a presumption of secrecy,” and the Ninth Circuit “has not yet addressed this precise
                                          26   question.”1 PG&E, No. 14-cr-175 TEH, ECF No. 103 at 22. At least four cases within this
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                                                       Courts have noted a “paucity of judicial authority in this area.” United States v. Fuentes, No.
                                               CR.S-07-0248 WBS, 2008 WL 2557949, at *2 (E.D. Cal. June 24, 2008).

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                                           1   district have concluded that legal instructions given to a grand jury fall within the
                                           2   “ministerial records” exception. See id.; United States v. Belton, No. 14-cr-30-JST, 2015
                                           3   WL 1815273 (N.D. Cal. Apr. 21, 2015); United States v. Diaz, 236 F.R.D. 470, 475–76,
                                           4   477–78 (N.D. Cal. 2006); United States v. Talao, No. CR-97-217- VRW, 1998 WL 1114043
                                           5   (N.D. Cal. Aug. 14, 1998). But other persuasive authority2 concludes that grand jury
                                           6   instructions reveal the substance of an investigation, and thus a movant must show
                                           7   particularized need to obtain the instructions. See, e.g., United States v. Barry, 71 F.3d 1269,
                                           8   1274 (7th Cir. 1995) (“[D]efendants claim . . . that instructions to the grand jury are
                                           9   ministerial in nature and are not matters occurring before the grand jury, to obtain which a
                                          10   defendant must show particularized need . . . . The claim cannot be sustained.”)
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                                          11          B.      Analysis
    United States District Court




                                          12                  1.     Grand Jury Instructions are Protected by Rule 6(e)
                                          13          In addressing FedEx’s motion, the Court must first determine whether grand jury
                                          14   instructions are “ministerial records” available to the public or whether they constitute a
                                          15   “matter occurring before the grand jury” that is protected from public disclosure by Rule 6(e)
                                          16   absent a showing of “particularized need.” Alaska Grand Jury, 674 F.2d at 784. The Court
                                          17   concludes that grand jury instructions are not ministerial records—they unquestionably
                                          18   reveal both the substance of a grand jury’s investigation and its “strategy or direction”—and
                                          19   thus the instructions constitute matters occurring before the grand jury that are protected by
                                          20   Rule 6(e). See Standley, 835 F.2d at 218; Alaska Grand Jury, 674 F.2d at 779 n.1.
                                          21          In contrast to the “ministerial records” identified in Alaska Grand Jury—which “relate
                                          22   to the procedural aspects of the empanelling and operation of the [grand jury], as opposed to
                                          23   records which relate to the substance of the . . . investigation”—the Court cannot imagine
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                                                         See, e.g., United States v. Larson, No. 07 CR304S, 2012 WL 4112026, at *5 (W.D.N.Y. Sept.
                                          25   18, 2012) (concluding that grand jury instructions reveal the “deliberative process for that body” and
                                               are covered by Rule 6(e)); United States v. Ho, No. CR 08-00337 JMS, 2009 WL 2591345, at *4 (D.
                                          26   Haw. Aug. 20, 2009); United States v. Morales, No. CR. S-05-0443 WBS, 2007 WL 628678, at *4 (E.D.
                                               Cal. Feb. 28, 2007); United States v. Twersky, No. S2 92 CR. 1082 (SWK), 1994 WL 319367, at *5
                                          27   (S.D.N.Y. June 29, 1994) (concluding that instructions were covered by Rule 6(e) and requiring an in
                                               camera review of the instructions even after defendant had shown particularized need); see also United
                                          28   States v. Zhitlovsky, No. 03-40032-01-SAC, 2003 WL 21939024, at *2 n.1 (D. Kan. July 29, 2003);
                                               United States v. Welch, 201 F.R.D. 521, 524 (D. Utah 2001).

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                                           1   information more relevant to the substance, strategy, and direction of a grand jury
                                           2   investigation than the legal advice provided by the prosecution to assist jurors in deciding
                                           3   whether or not to indict in a particular case. See 674 F.2d at 779 n.1. In short, the contention
                                           4   that disclosing grand jury instructions does not “reveal what occurred before the grand jury”
                                           5   beggars belief. See Standley, 835 F.2d at 218.
                                           6          Furthermore, releasing instructions to the public without a showing of particularized
                                           7   need would fly in the teeth of the “generally accepted rationale for the secrecy doctrine.”3
                                           8   Alaska Grand Jury, 674 F.2d at 781. This rationale, which includes the need “to protect [the]
                                           9   innocent accused who is exonerated from disclosure of the fact that he has been under
                                          10   investigation,” see id. at 782–83, persists even after an indictment has been issued and the
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                                          11   grand jury “has concluded its operations,” see Douglas Oil, 441 U.S. at 222. The Court thus
    United States District Court




                                          12   concludes that grand jury instructions constitute a “matter occurring before the grand jury”
                                          13   that is protected from public disclosure by Rule 6(e) absent a showing of “particularized
                                          14   need.” See Alaska Grand Jury, 674 F.2d at 784.
                                          15                   2.     FedEx Has Shown Particularized Need
                                          16              A defendant can overcome Rule 6(e)’s presumption in favor of protecting the
                                          17   secrecy of any “matter occurring before the grand jury” only by showing a “particularized
                                          18   need” for disclosure. See Fed. R. Crim. P. 6(e); Douglas Oil, 441 U.S. at 222. “Parties
                                          19   seeking grand jury transcripts under Rule 6(e) must show that the material they seek is
                                          20   needed to avoid a possible injustice in another judicial proceeding, that the need for
                                          21   disclosure is greater than the need for continued secrecy, and that their request is structured
                                          22   to cover only material so needed.” Douglas Oil, 441 U.S. at 222. “Mere unsubstantiated,
                                          23   speculative assertions of improprieties in the proceedings do not supply the ‘particular need’
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                                                       The Ninth Circuit has explained that the grand jury secrecy rule seeks “(1) [t]o prevent
                                          25 the escape of those whose indictment may be contemplated; (2) to insure the utmost freedom to
                                             the grand jury in its deliberations, and to prevent persons subject to indictment or their friends
                                          26 from importuning the grand jurors; (3) to prevent subornation of perjury or tampering with the
                                             witness who may testify before (the) grand jury and later appear at the trial of those indicted by
                                          27 it; (4) to encourage free and untrammeled disclosures by persons who have information with
                                             respect to the commission of crimes; (5) to protect innocent accused who is exonerated from
                                          28 disclosure of the fact that he has been under investigation, and from the expense of standing trial
                                             where there was no probability of guilt.” See Alaska Grand Jury, 674 F.2d at 781-82.

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                                           1   required to outweigh the policy of grand jury secrecy.” United States v. Ferreboeuf, 632
                                           2   F.2d 832, 835 (9th Cir. 1980) (internal quotation omitted). The decision whether to disclose
                                           3   grand jury materials is committed to the “sound discretion of the trial court.” United States
                                           4   v. Murray, 751 F.2d 1528, 1533 (9th Cir. 1985) (citing Pittsburgh Plate Glass Co. v. United
                                           5   States, 360 U.S. 395, 399 (1959)).
                                           6           The Court previously ordered the government to produce for review in camera any
                                           7   instructions given to the grand jury on the following three areas of law:
                                           8           •     the defenses established by the “common carrier” exemptions set forth in 21
                                           9                 U.S.C. § 373(a) and 21 U.S.C. § 822(c)(2);
                                          10           •     principles of criminal law “collective” mens rea and corporate liability; and
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                                          11           •     the Alternative Fines Act, 18 U.S.C. § 3571(d), or the “gross gains” derived by
    United States District Court




                                          12                 FedEx and its alleged co-conspirators.
                                          13   See Minute Entry (dkt. 150); Motion for Disclosure at 1. The Court concludes, given the
                                          14   unique nature of this prosecution, see Government’s Report on Similar Prosecutions (dkt.
                                          15   127); FedEx Response to Government Submission (dkt. 140), and for the reasons stated in
                                          16   FedEx’s motion, see generally Motion for Disclosure, that FedEx has demonstrated
                                          17   “particularized need” for disclosure of the requested grand jury instructions here. See Fed.
                                          18   R. Crim. P. 6(e). Furthermore, having reviewed the government’s submission in camera, the
                                          19   Court concludes that disclosure of the redacted transcripts will not seriously undermine
                                          20   continued grand jury secrecy, and the Court finally concludes that FedEx’s narrow request
                                          21   “is structured to cover only material” relevant to FedEx’s showing of “particularized need.”
                                          22   See Douglas Oil, 441 U.S. at 222.
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                                           1   IV.    CONCLUSION
                                           2          For the foregoing reasons, the Court ORDERS that the government produce to FedEx
                                           3   the redacted version of the grand jury instructions filed with the Court in response to the
                                           4   Court’s oral order of December 17, 2015.
                                           5          IT IS SO ORDERED.
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                                           7   Dated: January 19, 2016
                                                                                                    CHARLES R. BREYER
                                           8                                                        UNITED STATES DISTRICT JUDGE
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For the Northern District of California




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    United States District Court




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